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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

OWEN HARTY, Individually,
Plaintiff,
V. : Case No. 2:18-cv-03555-PD
CONFERENCE FACILITIES, INC. d/b/a :
Chubb Hotel & Conference Center, a

Pennsylvania Corporation,

Defendant.

 

STIPULATION FOR DISMISSAL OF CASE WITH PREJUDICE
Plaintiff and Defendant, by and through their undersigned counsel, hereby move this court to
dismiss the instant action with prejudice pursuant to the provisions of Rule 41.1(b) of the Local

Rules of Civil Procedure of this Court (effective January 1, 1970).

 

 

By: _/s/ By: _/s/

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